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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
 -----------------------------------------------------------x
 In re:                                                         Chapter 11
                                                                Case No. 20-40794-nhl
       3052 Brighton First, LLC,
                                                                Hon. Nancy Hershey Lord
                                    Debtor.                     United States Bankruptcy Judge
 -----------------------------------------------------------x




                 3052 BRIGHTON 1ST STREET LLC AND 3052 BRIGHTON
                1ST STREET II LLC’S MODIFIED THIRD AMENDED PLAN
                   OF LIQUIDATION FOR 3052 BRIGHTON FIRST, LLC




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                                                                     Street II LLC

Dated: New York, New York
       October 29, 2021
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                                      INTRODUCTION

        The secured creditors 3052 Brighton 1st Street LLC and 3052 Brighton 1st Street II LLC
(together, the “Secured Creditors” or the “Proponents”), hereby propose the following
Modified Third Amended Chapter 11 Plan (the “Plan”) for the above captioned debtor and
debtor-in-possession (the “Debtor”) pursuant to Section 1121(a) of Chapter 11 of Title 11 of the
United States Code (the “Bankruptcy Code”). Reference is made to the “Disclosure Statement”
for risk factors and a summary and analysis of the Plan and certain related matters. The Secured
Creditors are the proponents of the Plan within the meaning of Section 1129 of the Bankruptcy
Code. Subject to the restrictions on modifications set forth in Section 1127 of the Bankruptcy
Code, Rule 3019 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) and
the provisions of the Plan, the Proponents expressly reserve the right to alter, amend, revoke or
modify the Plan, as needed, at any time prior to substantial consummation thereof.

                                         ARTICLE 1

                                        DEFINITIONS

        Unless the context otherwise requires (i) the following terms shall have the following
meanings when used in this Plan; (ii) any capitalized term that is used in this Plan and not
defined in this Article 1 but that is defined in the Bankruptcy Code or the Bankruptcy Rules
shall have the meaning set forth therein; (iii) terms stated in the singular shall include the
plural and vice versa; (iv) pronouns stated in the masculine, feminine or neuter gender shall
include the masculine, the feminine and the neuter; (v) all section, article and exhibit
references in this Plan are to the respective section of, article of or exhibit to this Plan; (vi)
any reference to a contract, instrument, release or other agreement or document being in a
particular form or on particular terms and conditions, means that such document shall be
substantially in such form or substantially on such terms and conditions except as stated
otherwise in this Plan; (vii) any reference to an existing document or exhibit filed or to be
filed means such document or exhibit, as it may have been or may be amended, modified or
supplemented; (viii) the words “herein”, “hereof’, “hereto” or “hereunder” and other words
of similar import refer to this Plan in its entirety rather than to only a particular portion of
this Plan; (ix) the rules of construction set forth in Section 102 of the Bankruptcy Code shall
govern construction of this Plan; and (x) any reference contained herein to the Bankruptcy
Code, or to any section of the Bankruptcy Code, refers to the Bankruptcy Code, or such
section of the Bankruptcy Code, as it is existing and effective on the Petition Date, except to
the extent, if any, that any post-Petition Date amendment to the Bankruptcy Code applies
retroactively to cases filed on the Petition Date.

      1.1     “203-205 Bankruptcy Case” means the bankruptcy case entitled In re 203-
205 North 8th Street Loft, LLC, Case No. 20-40793-nhl.

        1.2    “3052 Brighton 1st Street II Claim” means the claim of 3052 Brighton 1st
Street II LLC against the Debtor, which shall be allowed in the amount of $36,577,480.39 as
of the Petition, plus interest from the Petition Date at the default rate specified in the note
underlying the 3052 Brighton 1st Street II Claim and applicable fees and charges.
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       1.3    “3052 Brighton 1st Street II Secured Claim” means the portion of the 3052
           st
Brighton 1 Street II Claim that is secured by a valid, enforceable Lien on property of the
Estate under applicable non-bankruptcy law that was perfected as of the Petition Date.

        1.4     “3052 Brighton 1st Street II Unsecured Claim” means the portion of the 3052
            st
Brighton 1 Street II Claim that is not secured by a valid, enforceable Lien on property of the
Estate, if any, due to 3052 Brighton 1st Street II Claim being undersecured.

        1.5   “3052 Brighton 1st Street Claim” means the claim of 3052 Brighton 1st Street
LLC against the Debtor, which shall be allowed in the amount of $18,067,401.86, as of the
Petition Date, plus interest from the Petition Date at the default rate specified in the note
underlying the 3052 Brighton 1st Street Claim and applicable fees and charges.

       1.6     “3052 Brighton 1st Street Secured Claim” means the portion of the 3052
Brighton 1st Street Claim that is secured by a valid, enforceable Lien on property of the Estate
under applicable non-bankruptcy law that was perfected as of the Petition Date.

        1.7     “3052 Brighton 1st Street Unsecured Claim” means the portion of the 3052
            st
Brighton 1 Street Claim that is not secured by a valid, enforceable Lien on property of the
Estate, if any, due to 3052 Brighton 1st Street Claim being undersecured.

       1.8    “Administrative Expense” or “Administrative Claim” means any cost or
expense of administration of this Case, other than Statutory Fees, allowable under Section
503(b) of the Bankruptcy Code.

       1.9      “Allowed” when used with “Claim” or “Administrative Expense” means a
Claim or Administrative Expense against the Debtor that has not been disallowed pursuant to
a Final Order and is not a Disputed Claim and (i) with respect to which a Proof of Claim or
Proof of Administrative Expense Claim has been timely filed with the clerk of the Bankruptcy
Court or, (ii) if no Proof of Claim has been filed, that has been or hereafter is listed by the
Debtor in the Schedules as liquidated in amount and not disputed or contingent.

       1.10 “Allowed Interest” means an Interest in the Debtor that has not been
disallowed and with respect to which (i) a proof of interest has been timely filed or, (ii) if no
proof of interest has been timely filed, that has been or hereafter is listed by the Debtor in the
Schedules as liquidated in amount and not disputed or contingent.

         1.11     “Assumption Notice” shall have the meaning set forth in section 5.1 of this
Plan.

       1.12 “Auction” means the auction to be conducted pursuant to the Bid Procedures
in connection with the Sale.

       1.13 “Available Cash” means all cash of the Debtor on the Effective Date,
including the net proceeds of the Sale of the Property and the Receivership Funds, together
with any cash generated after the Effective Date by the Debtors in connection with any Causes

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of Action the Debtors may bring or continue, and any Cash contributed by the Proponents
pursuant to section 6.2 hereof.

       1.14 “Bankruptcy Code” means Title 11 of the United States Code, as amended
from time to time and effective as to the Case as filed on the Petition Date.

       1.15 “Bankruptcy Court” means the United States Bankruptcy Court for the
Eastern District of New York or the United States District Court for the Eastern District of
New York to the extent it withdraws the reference over all or any portion of this Case pursuant
to §157(d) of Title 28 of the United States Code.

        1.16 “Bankruptcy Rules” mean (i) the Federal Rules of Bankruptcy Procedure, and
(ii) the Local Bankruptcy Rules for the United States Bankruptcy Court for the Eastern
District of New York, in either case, as now in effect or hereinafter amended.

       1.17 “Bar Date” means the date by which proofs of claim on account of pre-Petition
Date obligations of the Debtor must be filed as established by Order of the Bankruptcy Court.

       1.18 “Bid Procedures” means those procedures approved by the Bankruptcy Court
which govern the conduct of the Auction for the Property, the qualification of bidders to bid
at each Auction and other matters related thereto, which Bid Procedures shall be attached as
an exhibit to the Disclosure Statement and shall be subject to approval of the Bankruptcy
Court at the Confirmation Hearing.

      1.19 “Broker” shall mean Rosewood Realty Group, the real estate broker that shall
conduct the Auction in accordance with the Bid Procedures.

       1.20 “Business Day” means any day other than a Saturday, Sunday, or other day on
which commercial banks in New York, New York are authorized or required by law to close,
or other Legal Holiday.

        1.21 “Case” means this case under chapter 11 of the Bankruptcy Code commenced
in the Bankruptcy Court on the Petition Date and styled 3052 Bright First LLC, Case No. 20-
40794-nhl.

       1.22 “Cash” means, on any Business Day, immediately available funds, in United
States dollars, which may be spent or transferred without restriction (other than as may be
provided in this Plan or in the Confirmation Order) no later than the next Business Day.

        1.23 “Causes of Action” means, without limitation, any and all actions, causes of
action, controversies, liabilities, obligations, rights, suits damages, judgments, claims, and
demands whatsoever, whether know or unknown, reduced to judgment, liquidated or
unliquidated, fixed or contingent, matured or unmatured, disputed or undisputed, secured or
unsecured, assertible directly or derivatively, existing or hereafter arising, in law, equity, or
otherwise.


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         1.24     “Claim” means claim as defined in Section 101(5) of the Bankruptcy Code.

        1.25 “Class” means a category of substantially similar Claims or Interests as
established pursuant to Article 3 of this Plan.

       1.26 “Class Action Case” means the action filed in the Supreme Court of New
York, County of Kings, under the caption Leonard Robinson, on behalf of himself and all
others similarly situated, v. 3052 Brighton First LLC, Index No. 521058/2020

       1.27 “Class Action Claim” means the claim filed in this bankruptcy case for or on
behalf of the Class Action Plaintiffs and designated Claim 4-1.

        1.28 “Class Action Plaintiffs” means the designated or to be designated plaintiffs
in the Class Action.

       1.29 “Closing” means the closing of the sale of the Property to the Successful
Bidder at which point title to the Property will be transferred to the Successful Bidder in
accordance with the Sale Approval Order. The Closing, unless ordered otherwise by the
Bankruptcy Court, shall take place on the Effective Date.

      1.30 “Confirmation” or “Confirmation Date” means the date on which the
Confirmation Order is entered.

       1.31 “Confirmation Hearing” means the hearing(s) at which the Court hears
testimony and/or argument concerning whether to confirm this Plan.

       1.32 “Confirmation Hearing Date” means the date the Court holds the
Confirmation Hearing. If said hearing is conducted on more than one day, each day shall be
a Confirmation Hearing Date.

       1.33 “Confirmation Order” means an Order confirming this Plan pursuant to
Section 1129 of the Bankruptcy Code.

        1.34 “Creditor” means a holder of a Claim that has not been disallowed pursuant
to a Final Order.

         1.35     “Debtor” shall have the same meaning as such term is defined above.

         1.36     “Disbursing Agent” means Kriss & Feuerstein LLP.

       1.37 “Disclosure Statement” means the Disclosure Statement for this Plan,
including all exhibits, attachments or amendments thereto, approved by Final Order of the
Bankruptcy Court as containing “adequate information” within the meaning of Section 1125
of the Bankruptcy Code.

       1.38 “Disputed Claim” means (a) any Claim that is listed in the Schedules as
disputed, contingent or unliquidated and with respect to which no Proof of Claim has been
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filed; and (b) any Claim (including an Administrative Expense), or portion thereof, that has
not been disallowed and with respect to which an objection or action concerning the
allowance and/or extent thereof, in whole or in part, has been interposed within the applicable
period of limitation fixed by this Plan, the Bankruptcy Code, the Bankruptcy Rules or the
Bankruptcy Court, to the extent that any such objection or action has not been resolved by a
Final Order.

        1.39 “Disputed Claim Reserve” means the segregated account or accounts
established by the Disbursing Agent, at a banking institution that is an authorized bank
depository in the Eastern District of New York, pursuant to section 8.8 of this Plan.

        1.40 “Effective Date” means the later of (i) one Business Day after the Confirmation
Order becomes a Final Order; or (ii) the date all conditions to the Effective Date have been
satisfied or waived by the entity entitled by this Plan to waive such condition and the Sale
has closed.

         1.41     “Entity” means entity as defined in Section 101(15) of the Bankruptcy Code.

       1.42 “Estate” means the estate created on the Petition Date pursuant to Section 541
of the Bankruptcy Code.

       1.43 “Executory Contract” means an executory contract within the meaning of
Section 365 of the Bankruptcy Code.

         1.44 “Final Order” means an order which is: (i) not subject to a pending appeal;
(ii) no longer appealable, or if appealed, affirmed on appeal with no further appeals possible;
except that the Confirmation Order shall be deemed a Final Order on the first Business Day
after entry thereof so long as no stay of a Court of competent jurisdiction staying
consummation of the Plan.

        1.45 “Foreclosure Action” means the action brought by the Proponents in the
Supreme Court of the State of New York, Kings County, originally styled 3052 Bright 1st
Street II LLC v. 3052 Brighton First LLC and under the Index No. 509304/2015.

        1.46 “General Unsecured Claim” means a Claim that is not entitled to priority
under Bankruptcy Code Section 503(b) or 507 and/or is not secured by a lien against property
of the Debtor, including the Proponents’ Unsecured Claims (to the extent they are not an
Administrative Expense, but shall exclude Administrative Expenses, a Statutory Fee, a
Priority Claim, a Proponents’ Secured Claim, an Other Secured Claim or the Class Action
Claim.

         1.47     “Interests” means any and all equity interests held in the Debtor.

         1.48     “Interest Holder” means the holder of an Allowed Interest in the Debtor.

         1.49     “Legal Holiday” means a Legal Holiday as that term is defined in Bankruptcy

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Rule 9006(a).

          1.50    “Lien” means a charge, hold, claim, or encumbrance upon any property of the
Estate.

          1.51    “Order” means an order of the Bankruptcy Court.

        1.52 “Other Secured Claim” means an Allowed Claim, including all amounts, if
any, allowed pursuant to Section 506(b) of the Bankruptcy Code, to the extent that it is
secured by a Lien on property of the Estate or that is subject to setoff under Section 553 of
the Bankruptcy Code, to the extent of the value of the Claim holder’s interest in the Estate’s
interest in such property or to the extent of the amount subject to set-off, as applicable, as
determined pursuant to Section 506(a) of the Bankruptcy Code; provided, however, that an
Other Secured Claim shall not include the Proponents’ Secured Claims.

      1.53 “Petition Date” means February 6, 2020, the date on which this Case was
commenced by the filing of a voluntary petition for relief under chapter 11 of the Bankruptcy
Code by the Debtor.

      1.54 “Plan” means this Chapter 11 Plan of Liquidation of the Debtor, as it may be
amended, supplemented or modified from time to time, including any exhibits or schedules
annexed hereto or required to be filed with the Bankruptcy Court pursuant hereto.

      1.55 “Priority Claim” means that portion of an Allowed Claim entitled to priority
under Section 507 of the Bankruptcy Code other than an Administrative Claim, an Other
Secured Claim, a Proponents’ Secured Claim or Statutory Fees.

       1.56 “Privilege” means any attorney-client privilege, work-product privilege or
other privilege or immunity held by the Debtor before the Effective Date attaching to any
documents or communications (whether written or oral) related to the Causes of Action.

       1.57 “Professional” means all professionals employed pursuant to Bankruptcy
Court order by the Debtor under applicable sections of the Bankruptcy Code.

      1.58 “Proof of Claim” means a Proof of Claim filed pursuant to Section 501 of the
Bankruptcy Code and the applicable Bankruptcy Rules.

        1.59 “Property” means the real property commonly known as 3052/3062 Brighton
1st, Brooklyn, NY 11245 (Block: 8669, Lot:18).

       1.60 “Proponents’ Claims” means the 3052 Brighton 1st Street Claim and the 3052
Brighton 1st Street II Claim.

        1.61 “Proponents’ Secured Claims” means the portion of the Proponents’ Claims
that are secured by a valid, enforceable Lien on property of the Estate under applicable non-
bankruptcy law that was perfected as of the Petition Date.

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      1.62 “Proponents’ Unsecured Claims” means the portion of the Proponents’
Claims that are not secured by a valid, enforceable Lien on property of the Estate due to the
Proponents’ Claims being undersecured.

        1.63 “Pro Rata” means the proportion an Allowed Claim or an Allowed Interest in
a particular Class bears to the aggregate amount of all Allowed Claims or Allowed Interests
in such Class.

        1.64 “Receiver” means Gregory M. Laspina, the receiver of rents appointed by the
court in the Foreclosure Action pursuant to an order the Foreclosure Action court entered on
or about November 21, 2017.

      1.65 “Receivership Funds” means the funds held by the Receiver, net of the
Receiver’s fees and commissions and the fees of the Receiver’s appointees.

         1.66     “Sale” means the sale of the Property pursuant to the Bid Procedures.

        1.67 “Sale Approval Order” means the order approving the Sale of the Property
to the Successful Bidder, which may also be the Confirmation Order.

       1.68 “Schedules” mean the schedules of assets and liabilities and the Statement of
Financial Affairs filed by the Debtor with the Bankruptcy Court in accordance with Section
521(1) of the Bankruptcy Code and Rule 1007 of the Bankruptcy Rules and any amendments
thereto.

       1.69 “Statutory Fees” mean all fees and charges assessed against the Estate under
Section 1930 of title 28 of the United States Code.

       1.70 “Successful Bidder” means the bidder who the Court determined made the
highest and/or best bid for the Property and whose bid is approved by the Court.

       1.71 “Transfer Taxes” means any and all stamp taxes or similar taxes, if and as
applicable, within the meaning of Section 1146(a) of the Bankruptcy Code.

       1.72 “Unexpired Lease” means an unexpired lease within the meaning of Section
365 of the Bankruptcy Code.

                                             ARTICLE 2

                         TREATMENT OF UNCLASSIFIED CLAIMS

         Pursuant to Section 1123(a)(1) of the Bankruptcy Code, this Plan does not classify
Statutory Fees or Administrative Expenses. Such Claims, to the extent Allowed, shall receive
the treatment provided in this Article 2 in full satisfaction, release and discharge thereof.

         2.1      Statutory Fees

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         All fees and charges payable to the United States Trustee, including the Statutory Fees
and any applicable interest thereon, that are due on or prior to the Effective Date, shall be paid
no later than ten (10) days after the Effective Date from Available Cash. Such fees, together
with any applicable interest thereon, that may become due after the Effective Date shall be paid
as they become due by the Proponents until the entry of a final decree closing the Chapter 11
Case, or until the Chapter 11 Case is converted or dismissed, whichever occurs earlier from
Available Cash.

         2.2      Administrative Claims

        (a) All Administrative Claims, other than Administrative Claims of professionals,
must be filed and served no later than fourteen (14) days after entry of the Confirmation
Order. Subject to the provisions of Article 8 of the Plan with respect to Disputed Claims,
each Administrative Claim, to the extent not previously paid, shall be paid by the Disbursing
Agent in Cash in full on (i) the later of (a) the Effective Date, (b) the date payment of such
Claim is due under the terms thereof or applicable law, or (c) three (3) Business Days after
such Claim becomes an Allowed Administrative Claim or (ii) as may be otherwise mutually
agreed in writing between the Debtor and the holder of such Claim; provided, however, that
any Administrative Claim incurred by the Debtor in the ordinary course of its business shall
be paid in full in accordance with the terms and conditions of the particular transaction giving
rise to such Administrative Claim and any agreements relating thereto.

        (b) All Professionals, including the Receiver, shall file final applications for approval
of compensation and reimbursement of reasonable and necessary expenses pursuant to Section
330 of the Bankruptcy Code no later than fourteen (14) days following the Confirmation Date.
Any such application timely filed shall be deemed to be an Administrative Claim, subject to
the entry of a Final Order by the Bankruptcy Court approving such application. Objections
to any Professional's application for compensation or reimbursement must be timely filed and
served upon such Professional, the Debtor and the Disbursing Agent in accordance with the
Bankruptcy Rules or any order entered by the Bankruptcy Court. Upon entry of a Final Order
approving such an application, the fees shall be paid on the later of seven days after the entry
of such Order and the Effective Date or in accordance with this Plan or as otherwise agreed
to by the Professional and the Proponents.

                                          ARTICLE 3

        CLASSIFICATION OF CLAIMS AND INTERESTS AND IMPAIRMENT

       Except as may otherwise be provided in Article 2, Allowed Claims and Allowed
Interests are classified as set forth in this Article 3. A Claim or Interest is in a particular
Class designated herein only to the extent such Claim or Interest (i) fits within the description
of such Class and is in such other and different Class or Classes to the extent that the
remainder thereof fits within the description of such other Class or Classes and (ii) has not
been paid, released or otherwise satisfied prior to the Effective Date.

         3.1      Class 1
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       Class 1 consists of Other Secured Claims (i.e., other than the Proponents’ Secured
Claims). The Other Secured Claims in Class 1 are not impaired under this Plan. If there is
more than one Claim in Class 1, each such Claim shall be considered to be in a separate sub-
class within Class 1.

         3.2      Class 2

       Class 2 consists of the 3052 Brighton 1st Street II Secured Claim. The 3052 Brighton 1st
Street II Secured Claim in Class 2 is impaired under this Plan.

         3.3      Class 3

       Class 3 consists of the 3052 Brighton 1st Street Secured Claim. The 3052 Brighton 1st
Street Secured Claim in Class 3 is impaired under this Plan.

         3.4      Class 4

      Class 4 consists of all Priority Claims. The Priority Claims in Class 4 are not impaired
under this Plan.

         3.5      Class 5

     Class 5 consists of all General Unsecured Claims (i.e., including the Proponents’
Unsecured Claims). The General Unsecured Claims in Class 5 are impaired under this Plan.

         3.6      Class 6

      Class 6 consists of the Class Action Claims. The Class Action Claims in Class 6 are
impaired under this Plan.

         3.7      Class 7

      Class 7 consists of all Interests in the Debtor. The Interests in Class 7 are not impaired
under this Plan.

                                         ARTICLE 4

                        TREATMENT OF CLAIMS AND INTERESTS

         4.1      Class 1 – Other Secured Claims

       The holders of the Allowed Class 1 Other Secured Claims will receive on account of such
claims Available Cash sufficient to pay such Claims in full, with interest at the applicable rate,
on the Effective Date or as soon thereafter as is reasonably practicable.




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         4.2      Class 2 – 3052 Brighton 1st Street II Secured Claim

        Subject to the provisions of Article 8 of this Plan with respect to Disputed Claims, each
holder of an Allowed Class 2 3052 Brighton 1st Street II Secured Claim will receive on
account of such Claim on or about the Effective Date a distribution of Available Cash sufficient
to allow for payment in full of the 3052 Brighton 1st Street II Secured Claim; provided,
however, that such payment may be reduced pursuant to section 6.2 hereof in order to allow for
payment in full on the Effective Date of the Claims in Class 1 and Class 4, the Statutory Fees
and Administrative Claims, which shall be taken from the distribution otherwise to be made to
the holder of the Class 2 3052 Brighton 1st Street II Secured Claim if such amount is not taken
in full from the distribution otherwise to be made to the holder of the Class 3 3052 Brighton 1st
Street Secured Claim.

         4.3      Class 3 – 3052 Brighton 1st Street Secured Claim

        Subject to the provisions of Article 8 of this Plan with respect to Disputed Claims, each
holder of an Allowed Class 3 3052 Brighton 1st Street Secured Claim will receive on or about
the Effective Date on account of such claim a pro rata distribution of Available Cash after all
payments to the Class 2 Claim; provided, however, that such payment may be reduced pursuant
to section 6.2 hereof in order to allow for payment in full on the Effective Date of the Claims in
Class 1 and Class 5, the Statutory Fees and Administrative Claims, which shall be taken from
the distribution otherwise to be made to the holder of the Class 3 3052 Brighton 1st Street Secured
Claim; provided further, however, that if the proceeds of the distributions to the holder of the
3052 Brighton 1st Street Claim pursuant to the Plan (after taking into account any such
reductions) and pursuant to a sale of the property of the debtor in the 203-205 North 8th Street
Bankruptcy Case are sufficient, together, to more than pay the 3052 Brighton 1st Street Claim in
full, the proceeds of both the Sale and the sale in the 203-205 Bankruptcy Case shall be paid to
the holder of the 3052 Brighton 1st Street Claim on a pro rata basis, it being the intention that the
holder of the 3052 Brighton 1st Street Claim shall not receive more than payment in full on
account of distributions from the Debtor’s estate and from the debtor’s estate in the 203-205
Bankruptcy Case.

         4.4      Class 4 - Priority Claims

      Subject to the provisions of Article 8 of this Plan with respect to Disputed Claims, and
with the exception of holders of Priority Claims who waive any distribution under the Plan
on account of their Class 4 Priority Claims against the Debtor, each holder of an Allowed
Class 4 Priority Claim will receive on or about the Effective Date on account of such claim
payment in full from Available Cash.

         4.5      Class 5 – General Unsecured Claims

       Subject to the provisions of Article 8 of this Plan with respect to Disputed Claims, and
with the exception of holders of General Unsecured Claims who waive any distribution under
the Plan on account of their Class 5 General Unsecured Claims against the Debtor, each
holder of an Allowed Class 5 General Unsecured Claim will receive on account of such claim
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a pro rata distribution of Available Cash after all payments to Class 1 Claims, the Class 2 Claim
the Class 3 Claim, the Class 4 Claims, Statutory Fees and Administrative Claims, with interest
at the rates set forth in the applicable Notes as to Claims in Class 1, Class 2 and Class 3, and
simple interest at the Federal Judgment Rate as to Class 4 per annum from the Petition Date,
with principal being paid in full prior to any payments being made on account of such
interest.

         4.6      Class 6 – Class Action Claims

      Subject to the provisions of Article 8 of this Plan with respect to Disputed Claims
including the litigation of the Class Action Case described in section 8.13 of this Plan, and
with the exception of holders of Class Action Claims who waive any distribution under the
Plan on account of their Class 6 Class Action Claim against the Debtor, each holder of an
Allowed Class 6 Class Action Claim shall be paid in full by the Successful Bidder out of its
own funds and not those paid in connection with the Sale.

         4.7      Class 7 – Interests

        Holders of Allowed Class 7 Interests shall continue to retain and maintain such Interests
in the Debtor and the Post-Confirmation Debtor following Confirmation of the Plan in the same
percentages as existed as of the Petition Date. Additionally, to the extent that there is any
Available Cash after full payment of all Statutory Fees, Administrative Claims, and Allowed
Claims in Class 1 Claim, Class 2, Class 3, Class 4, Class 5, and Class 6 (to the extent not
assumed by the Successful Purchaser), the holders of the Allowed Class 7 Interests shall
receive such remaining Available Cash, pro rata, in accordance with their respective
percentage interests in the Debtor.

                                           ARTICLE 5

     TREATMENT OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES

         5.1      Treatment of Executory Contracts; Bar Date for Rejection Claims

        All Executory Contracts or Unexpired Leases to which the Debtor is a party as of the
Effective Date, other than residential leases, which were not previously rejected, assumed, or
assumed and assigned by the Debtor shall be rejected and disaffirmed under the Plan as of the
Effective Date in accordance with the provisions and requirements of Sections 365 and 1123 of
the Bankruptcy Code, unless an Executory Contract or Lease is listed as assumed and assigned
to a Successful Bidder on a notice to be filed with the Bankruptcy Court (the “Assumption
Notice”), with such notice being served by the Proponents on the counterparty to each such
Executory Contract or Unexpired Lease, no later than twenty one (21) days prior to the Effective
Date. On the Effective Date, the Debtor and/or the Receiver will provide the Proponents, or
its nominee, an assignment and assumption of all residential leases at the Property and the
right to collect any and all rent arrears from such tenants.

         5.2      Claims Arising From Rejection, Expiration or Termination
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        Holders of Claims created by the rejection of executory contracts and unexpired leases or
the expiration or termination of any executory contract or unexpired lease must file in the
Bankruptcy Court and serve on the Proponents a proof of claim within 21 days after service of
the Assumption Notice. Unless otherwise ordered by the Bankruptcy Court, all such Claims that
are timely filed as provided herein shall be treated as General Unsecured Claims under the Plan,
subject to objection by the Proponent. After receipt of such proof of claim, the Proponent shall
have 14 days to file an objection, failing which such Claim shall be an Allowed Claim.

                                         ARTICLE 6

                           IMPLEMENTATION OF THE PLAN

         6.1      Implementation

        (a) The Broker shall conduct the Auction of the Property in accordance with the Bid
Procedures. Thereafter, the Proponents shall consummate the sale of the Property to the
Successful Bidder consistent with the Bid Procedures and the Sale Approval Order. The Bid
Procedures shall provide that the Proponents (or their affiliate(s) or designee(s)) may make
a joint credit bid up to the full Allowed amount of the Proponents’ Claims, although they are
under no obligation to do so. Notwithstanding anything else herein to the contrary, the
Successful Bidder may take the Property subject to one or more of the Proponents’ mortgages
at the Proponents’ sole and absolute discretion and shall take subject to the Allowed Class 6
(Class Action Plaintiffs) Claims. The Broker’s fees shall be paid from the proceeds of the
Auction, or from a buyer’s premium. The Auction shall not take place until the foreclosure
moratorium issued by the State of New York is lifted as to the Property.

        (b) The Confirmation Order shall contain appropriate provisions, consistent with
Section 1142 of the Bankruptcy Code that, among other things: (A) directs the Debtor to
execute or deliver or to join in the execution or delivery of any instrument required to effect
a transfer of the Property to the Successful Bidder and to perform any act, including the
satisfaction of any Lien, that is necessary for the consummation of this Plan and if the Debtor
refuses to execute or deliver or join in the execution or delivery of any such instrument, the
Proponents shall be authorized to execute, deliver or join in the execution or delivery of such
instrument on the Debtor’s behalf; (B) directs the Debtor to transfer all cash on hand to the
Disbursing Agent immediately, which cash shall become part of the Available Cash; and (C)
directs the Disbursing Agent, on or about the Effective Date, to make the payments required
under this Plan to be made on or about the Effective Date. Pursuant to Section 1146(a) of
the Bankruptcy Code, the deed conveying the Property in accordance with the Sale and any
deed further conveying the property with two years following the Sale by the Proponents or
their affiliate or designee shall be an instrument of transfer in connection with or in
furtherance of the Plan shall not be subject to tax under any law imposing a stamp tax, real
estate Transfer Taxes, mortgage recording tax or similar tax, and, to the extent provided by
Section 1146(a) of the Bankruptcy Code, if any, shall not be subject to any state, local or
federal law imposing sales tax. All proceeds of the Auction (after applicable expenses) shall
be deposited with the Distribution Agent and become Available Cash.

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         6.2      Funding

        Except as set forth elsewhere in this Plan, all payments required to be made under
this Plan shall be made by the Disbursing Agent in accordance with the terms of this Plan
from Available Cash. In the event that the Available Cash on the Effective Date is
insufficient to fund the Plan distributions required to be made on the Effective Date fully:
(a) any shortfall will be funded by the Proponents on or before the Effective Date, with any
such shortfall funding constituting an administrative claim against the Debtor’s estate payable
from Available Cash after the Effective Date (such shortfall shall be funded either: (1) by
reducing the distribution to be made on the Class 3 Claim or, if and to the extent that such
distribution is insufficient, the distribution to be made on the Class 2 Claim; or (2) through Cash
provided by the Proponents); or (b) subject to section 11.5 of the Plan, the Proponents will
withdraw their request for Confirmation of the Plan.

         6.3      Execution of Documents

        On the Effective Date, the Debtor, shall execute, release and deliver all documents
reasonably necessary to consummate the transactions contemplated by the terms and
conditions of this Plan, including substitution of defendant in the Class Action Case.
Pursuant to Sections 105, 1141(c) and 1142(b) of the Bankruptcy Code, the Debtor shall be
authorized to execute any estoppel certificate, or any notice of satisfaction, release or
discharge of any Lien, Claim or encumbrance not expressly preserved in this Plan and deliver
such notices to any and all federal, state and local governmental agencies or departments for
filing and recordation and if the Debtor refuses to execute or deliver any such documents or
notices, the Proponents shall be authorized to execute such documents and/or notices on the
Debtor’s behalf, and the Confirmation Order shall expressly so provide.

         6.4      Filing of Documents

       Pursuant to Sections 105, 1141(c) and 1142(b) of the Bankruptcy Code, each and
every federal, state and local governmental agency or department, shall be directed to accept
and record any and all documents and instruments necessary, useful or appropriate to
effectuate, implement and consummate the transactions contemplated by this Plan, and any
and all notices of satisfaction, release or discharge or assignment of any Lien, Claim or
encumbrance not expressly preserved by the Plan.

         6.5      Preservation of Rights of Action

       On the Effective Date all Causes of Action shall continue and/or be preserved after
the Effective Date and shall be controlled by the Debtor on behalf of the Debtor’s Estate;
provided, however, that any counterclaims, defenses or rights of action against the Class
Action Plaintiffs and/or in connection with the Class Action Case shall be controlled by the
Successful Bidder on behalf of the Debtor’s Estate. The Debtor shall cooperate with the
Successful Bidder in connection with any such counterclaims, defenses or rights of action,
including sharing any materials, documents or other information that are subject to a
Privilege to the extent requested by the Successful Bidder in connection therewith. The
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sharing of any such materials, documents or other information by the Debtor with the
Successful Bidder shall not waive any Privilege.

         6.6      Preservation of Books and Records

       On the Effective Date, all books and records of the Debtor shall be transferred to the
Proponents and, thereafter, the Proponents shall have the right to use, maintain and/or
dispose of the books and records as they see fit in their discretion, including transfer to the
Successful Bidder.

         6.7      Termination of Receivership.

        On the Effective Date, the Receiver shall transfer to the Disbursing Agent the
Receivership Funds. After such transfer, the Receiver shall be terminated and have no further
duties and/or responsibilities with respect to the management and/or preservation of the
Property. As soon as practicable on or after the Effective Date, the Receiver shall turnover all
books and records related to the Property, including copies of all leases executed by the Receiver
with respect to the Property to the Proponents or to the Successful Bidder as directed by the
Proponents. The Receiver’s managing agent, if any, shall cooperate in all respects and shall also
be relieved as managing agent on the Effective Date. The Receiver shall as promptly as
practicable, file final accountings and requests for fees and commissions with the Bankruptcy
Court. The Confirmation Order shall provide for termination of the Receivership and the
Receiver can file the Confirmation Order in the Foreclosure Action to obtain a discharge of the
Receiver’s bond.

         6.8      Notice of Effective Date

        Within three days of the Effective Date, the Proponents shall file with the Bankruptcy
Court a notice that the Effective Date has occurred and the date it has occurred, which shall be
served via an email to the Debtor, the Debtor’s bankruptcy counsel, the Office of the United
States Trustee and all other parties who have filed a notice of appearance.

                                          ARTICLE 7

                                          RESERVED



                                          ARTICLE 8

                        PROVISIONS GOVERNING DISTRIBUTIONS

         8.1      Disbursing Agent

       All Distributions under this Plan shall be made by the Disbursing Agent who shall
not be required to give any bond or surety or other security for the performance of its duties
unless otherwise ordered by the Bankruptcy Court. All cash received by the Disbursing Agent
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shall be kept in a segregated escrow account maintained at a banking institution that is an
authorized depository in the Eastern District of New York. The Disbursing Agent shall not be
compensated for services rendered under the Plan and shall not be required to secure a bond.
The Disbursing Agent shall not incur any liability, other than for gross negligence, willful
misconduct, criminal conduct, or for any claim for liability pursuant to 28 U.S.C. § 959 in
connection with carrying out its duties under the Plan, which liability shall be expressly limited
to the period commencing from the Disbursing Agent’s receipt of the Available Cash and ending
on the date that all disbursements contemplated by the Plan have been distributed. The
Disbursing Agent shall not be deemed to be an officer, fiduciary or agent of the Debtor.
Furthermore, the Disbursing Agent shall have the express authority to execute a deed to the
Property and other conveyance documents in place (including, but not limited to the appropriate
transfer tax returns), instead of members of the Debtor, or other authorized parties of the Debtor,
and shall have no other powers or authority with respect to the Debtor. The Disbursing Agent
shall have no obligation to file income tax returns or similar reports with the applicable taxing
authorities, which obligations shall remain with the Debtor. In addition to the foregoing, the
Disbursing Agent shall be entitled to open and maintain an Interest on Lawyers Account (IOLA)
with Kriss and Feuerstein LLP at an Eastern District of New York authorized depository.

         8.2      Rights and Powers of the Disbursing Agent

        The Disbursing Agent shall be empowered to (i) effect all actions and execute all
agreements, instruments and other documents necessary to perform its duties under this Plan,
(ii) make all Distributions contemplated hereby, (iii) employ and compensate professionals
to represent it with respect to its responsibilities and (iv) exercise such other powers as may
be vested in the Disbursing Agent by order of the Bankruptcy Court, pursuant to this Plan, or
as deemed by the Disbursing Agent to be necessary and proper to implement the provisions
hereof.

         8.3      Timing of Certain Distributions Under the Plan

        Except as otherwise provided in this Plan, and subject to Sections 8.7, 8.8 and 8.9 of
this Plan, any payments, distributions or other performance to be made pursuant to this Plan
on account of any Disputed Claim shall be deemed to be timely made if made on or within
five (5) days following the later of (i) the Effective Date, (ii) the expiration of any applicable
objection deadline with respect to such Disputed Claim, or (iii) such other times provided in
this Plan.

         8.4      Method of Payment

        Unless otherwise expressly agreed, in writing, all Cash payments to be made pursuant
to this Plan shall be made by check drawn on a domestic bank. Any escrowed, reserved or
segregated funds will be held at a banking institution that is an authorized banking depository
in the Eastern District of New York.

         8.5      Objection Deadline

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       Unless otherwise ordered by the Bankruptcy Court or provided in this Plan, the
Proponents may file and serve any objection to any Claim or Interest at any time, but in no
event after the Effective Date for Claims that are otherwise entitled to payment on the
Effective Date or, for all Claims that are otherwise entitled to payment after the Effective
Date, the later to occur of (i) ninety (90) days following the Effective Date; or (ii) sixty (60)
days after the date proof of such Claim or Interest or a request for payment of such Claim is
filed with the Bankruptcy Court, unless the time is extended by the Bankruptcy Court.

         8.6      Prosecution of Objections

        After the Effective Date, the Proponents shall have authority to file, prosecute, settle,
compromise, withdraw or resolve objections to Claims in Class 1, Class 4, Class 5 and Class
6 as they see fit in their discretion. The rights of anyone who has objected to such Claim(s)
prior to the Effective Date as to such objection shall be transferred to the Proponents. After
the Effective Date, the Proponents may file, prosecute, settle, compromise, withdraw or
resolve objections to any other claims.

         8.7      No Distribution Pending Allowance

       No payment or distribution of Cash or other property shall be made with respect to
any portion of a Disputed Claim unless and until all objections to such Disputed Claim are
withdrawn or resolved by Final Order.

         8.8      Escrow of Cash Distributions

        On any date that distributions are to be made under the terms of this Plan, the
Disbursing Agent shall deposit in one or more segregated accounts, Cash or property equal
to 100% of the Cash or property that would be distributed on such date on account of Disputed
Claims as if each such Disputed Claim were an Allowed Claim but for the pendency of a
dispute with respect thereto, including, but not limited to (i) Disputed Claims that may be
entitled to treatment as Administrative Expenses or as Priority Claims pursuant to Sections
503 and 507 of the Bankruptcy Code, (ii) claims of Governmental Units for any tax and (iii)
any amount due but not payable on the Effective Date on account of Administrative Expenses
or claims entitled to priority pursuant to Sections 503 and 507 of the Bankruptcy Code. The
Disbursing Agent shall also segregate any interest, dividends or proceeds of such Cash, if
any. Such Cash, together with any interest, dividends or proceeds thereof, shall be held in
trust for the benefit of the holders of all such Disputed Claims pending determination of their
entitlement thereto. Any escrowed, reserved or segregated funds will be held at a banking
institution that is an authorized banking depository in the Eastern District of New York.

         8.9      Distribution After Allowance

       Within fourteen (14) days after the entry of a Final Order resolving an objection to a
Disputed Claim, the Disbursing Agent shall distribute all Cash or other property, including
any interest, dividends or proceeds thereof, to which a holder is then entitled with respect to
any Disputed Claim that has become an Allowed Claim.
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         8.10     Investment of Segregated Cash and Property

        To the extent practicable, the Disbursing Agent may invest any Cash or other property
segregated on account of a Disputed Claim, undeliverable distribution, or any proceeds
thereof (i) in a manner that will yield a reasonable net return taking into account the safety of
the investment or (ii) in any manner permitted by Section 345 of the Bankruptcy Code;
provided, however, that the Disbursing Agent shall be under no obligation to so invest such
Cash or proceeds and shall have no liability to any party for any investment made or any
omission to invest such Cash, other property or proceeds other than for liability for the
violation of federal securities laws or any related regulations promulgated thereunder by the
Securities and Exchange Commission and/or Financial Industry Regulatory Authority or any
securities laws of the State of New York and any applicable regulations promulgated
thereunder by the New York State Department of Financial Services. Any escrowed, reserved
or segregated funds will be held at a banking institution that is an authorized banking
depository in the Eastern District of New York.

         8.11     Delivery of Distributions

        Except as provided in Sections 8.12, 8.13 and 8.14 of this Plan, distributions to holders
of Allowed Claims and Allowed Interests shall be made: (1) at the addresses set forth on the
respective Proofs of Claim or Proofs of Interests Filed by such holders; (2) at the addresses
set forth in any written notices of address changes delivered to the Disbursing Agent after the
date of any related Proof of Claim; or (3) at the address reflected in the Schedules if no Proof
of Claim is filed and the Disbursing Agent has not received a written notice of a change of
address.

         8.12     Undeliverable Distributions

              (a)      If the distribution to the holder of any Claim or Interest is returned to
the Disbursing Agent as undeliverable, the Disbursing Agent will make reasonable attempts
to locate the holder of the Allowed Claim or Allowed Interest. Any further undeliverable
distributions shall remain in the possession of the Disbursing Agent until the earlier of (i)
such time as a distribution becomes deliverable or (ii) such undeliverable distribution
becomes an unclaimed distribution (each, an “Unclaimed Distribution”). A distribution
becomes an Unclaimed Distribution if three months have elapsed since a distribution is
returned to the Disbursing Agent as undeliverable or six months have elapsed since a
distribution check has gone uncashed and if no notice has been provided to the Disbursing
Agent by the holder of the claim to which such distribution relates containing a valid address
for such holder. If such a notice is provided, then, after receipt of such additional information
as the Disbursing Agent may require to confirm the identity, address and ownership of such
Claim, the Disbursing Agent shall make a distribution of all amounts reserved for such
undeliverable distribution or unclaimed check to such Claim holder at the address provided
in such notice within 14 days thereafter. All Unclaimed Distributions shall become
Available Cash and shall be distributed in accordance with this Plan.

                 (b)    Nothing contained in this Plan shall require the Disbursing Agent to
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attempt to locate any holder or an Allowed Claim of an Allowed Interest.

         8.13     Litigation of Class Action Claims

        All of the Class Action Claims are subject to continued litigation in the Class Action
Case. None of the Class Action Plaintiffs shall have an Allowed Claim under this Plan unless
and until they obtain a final judgment in their favor in the Class Action Case. On the
Effective Date of the Plan, the Successful Bidder shall intervene and substitute itself in place
and stead of the Debtor so as to prosecute the defense in the State Court Class Action Case
on behalf of the Debtor and the Debtor’s estate and may appear in lieu of the Debtor itself in
such litigation, which may be through the Debtor’s existing counsel.

       To the extent that the Claims in Class 6 are Allowed as Class 6 Claims (which will
require a Final Order in the Class Action Case), the holders in Class 6 shall be paid by the
Successful Bidder out of its own funds and not out of any funds paid in connection with the
Sale.

         8.14     Set-offs

       Upon three (3) days prior written notice to the affected Creditor, the Disbursing Agent
may, but shall not be required to, set-off against the distributions to be made pursuant to this
Plan the claims, obligations, rights, causes of action and liabilities of any nature that the
Debtor may hold against the holder of an Allowed Claim on or prior to the Effective Date,
provided, however, that neither the failure to effect such a set-off nor the allowance of any
claim hereunder shall constitute a waiver or release by the Debtor, the Proponents, or the
Disbursing Agent of any such claims, obligations, rights, causes of action and liabilities that
the Debtor has or may have against such holder.

         8.15     Disallowance

       Except as provided in Section 5.1 hereof, any Disputed Claim for which no Proof of
Claim has been filed on or prior to the Bar Date shall be disallowed and expunged as of the
Effective Date.

         8.16     Surrender of Instruments; Execution of Satisfactions and Releases.

        (a)      Notwithstanding any other provision of the Plan, no Creditor that holds a note
or other instrument evidencing such Creditor’s Claim or Interest may receive any Distribution
with respect to such Claim or Interest unless and until the original note or other original
instrument evidencing such Claim or Interest shall have been validly surrendered to the
Disbursing Agent at the sole cost and expense of such Creditor, except to the extent the Property
is transferred to the Successful Bidder subject to the Proponents’ Secured Claims.

        (b)     Any Cash or property to be distributed pursuant to the Plan on account of any
such Claim shall, pending surrender, be treated as an Undeliverable Distribution pursuant to
section 8.12 of the Plan.

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         (c)     In the event any Creditor is unable to surrender a Note or other instrument
evidencing a Claim against the Debtor that has been destroyed, lost or stolen, such entity may
receive a Distribution with respect to such Claim by presenting to the Disbursing Agent, in a
form acceptable to the Disbursing Agent: (i) proof of such entity’s title to such Claim; (ii) an
affidavit to the effect that the same has been lost and after diligent search cannot be located; and
(iii) such indemnification as may be required by the Disbursing Agent and all other entities
deemed appropriate by the Disbursing Agent from any loss, action, suit or any claim whatsoever
which may be made as a result of such entity’s receipt of a Distribution under the Plan.

       (d)      All questions as to the validity, form or eligibility of any Note or other instrument
evidencing a Claim so surrendered shall be resolved by Final Order of the Bankruptcy
Court. Neither the Debtor nor the Disbursing Agent shall be under any duty to give notification
of defects in such tender or shall incur liability for failure to give notification of such defects.

                                            ARTICLE 9

                                DISCHARGE AND RELEASES

         9.1      Injunction

        Except (i) as otherwise provided in this Plan, (ii) as otherwise provided under Final
Order entered by the Bankruptcy Court, or (iii) with respect to the Debtor’s obligations under
this Plan, the entry of the Confirmation Order shall forever stay, restrain and permanently
enjoin on and after the Confirmation Date: (a) the commencement or continuation of any
action, the employment of process, or any act to collect, enforce, attach, recover or offset
from the any property of the Estate, including the Property sold under this Plan (except: (1)
with respect to Allowed Class 6 (Class Action Plaintiff) Claims and to the extent such
Property is sold subject to the Proponents’ liens); or (b) the creation, perfection or
enforcement of any lien or encumbrance against any property of the Estate, including the
Property sold under this Plan (except: (1) with respect to Allowed Class 6 (Class Action
Plaintiff) Claims and to the extent such Property is sold subject to the Proponents’ liens).
Since this Plan provides for the liquidation of all or substantially all of the property of the
Estate, the Confirmation of the Plan will not result in a discharge of the Debtor’s pre-Petition
Date Claims.

         9.2      Limitation of Liability

       The Proponents and the Disbursing Agent, nor any of their respective, managers,
members, nor any of their agents or employees (acting in such capacity) nor any professional
person employed by them, shall have or incur any liability to any entity for any action taken
or omitted to be taken in connection with or related to the formulation, preparation,
prosecution, dissemination, Confirmation, consummation or administration of this Plan, the
Disclosure Statement or any contract, instrument, release or other agreement or document
created or entered into, or the distribution of property under this Plan, or any other action
taken or omitted to be taken in connection with the Case or this Plan, except as may be
expressly provided for in such agreements or documents, and except for willful misconduct
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or gross negligence, breach of fiduciary duty, criminal conduct, ultra vires actions or the
disclosure of confidential information that causes actual damages. In addition, any release
exculpation or limitation of liability provided for in this Plan shall not release any attorney
from any obligations owed under Rule 1.8(h) of the New York Rules of Professional Conduct
for malpractice liability. Nothing in the Plan nor the Confirmation Order shall effect a
release of any claim by the United States Government or any of its agencies or any state and
local authority, including without limitation any claim arising the Internal Revenue Code,
the environmental laws or any criminal laws of the United States or any state and local
authority against (i) the Debtor, (ii) any of the Debtor’s members, shareholders, officers,
directors, employees, attorneys, advisors, agents, representatives, and assigns. In addition,
subject to Sections 524 and 1141 of the Bankruptcy Code, the releases, exculpations, and
limitations of liability described herein shall not preclude police, federal tax, or regulatory
agencies from fulfilling their statutory duties.

         9.3      Plan and Confirmation Order as Release

        From and after the Effective Date, a copy of the Confirmation Order and this Plan
shall constitute and may be submitted as a complete defense to any claim or liability released
pursuant to this Article 9 of this Plan.

         9.4      Revesting of Assets

         Consistent with Sections 1123(a)(5)(A) and 1141 of the Bankruptcy Code, and except as
may be otherwise provided in this Plan (including as provided in section 6.5 hereof), title to all
assets and property of the estate of the Debtor not otherwise addressed in this Plan shall pass to,
and vest in, the Debtor, free and clear of all Claims, Liens, charges and other rights of creditors
arising prior to the Effective Date. On and after the Effective Date, the Post-Confirmation Debtor
may conduct its financial affairs and may use, acquire, and dispose of property free of any
restrictions of the Bankruptcy Code, the Bankruptcy Rules and the Bankruptcy Court, except as
otherwise provided in this Plan or in the Confirmation Order (including as provided in section
6.5 hereof).

                                          ARTICLE 10

          CONDITIONS TO CONFIRMATION AND THE EFFECTIVE DATE

         10.1     Conditions for Confirmation

       In addition to meeting the requirements of Section 1129 of the Bankruptcy Code, the
following conditions shall be conditions to the Confirmation of this Plan: the Confirmation
Order is satisfactory to the Proponents in form and substance.

         10.2     Conditions to the Effective Date

     The following shall be conditions to the Effective Date of this Plan. The Proponents
may waive a condition by filing a “Notice of Waiver of Condition” with the Bankruptcy

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Court on the Court’s Electronic Court Filing System:

        (a) the Confirmation Order, in form and substance satisfactory to the Proponents in
their sole discretion, and the Sale Order, in form and substance satisfactory to the Proponents
in their discretion, shall have been entered; and

        (b) all actions required to be taken to implement the Confirmation Order including
the transfer of title to the Property at the Closing to the Successful Bidder shall have occurred
and any contribution necessary to fund the distributions to be made on or about the Effective
Date in full shall have been deposited with the Disbursing Agent.

                                         ARTICLE 11

                             MISCELLANEOUS PROVISIONS

         11.1     Orders in Aid of Consummation

      Pursuant to Sections 105, 1141, 1142 and 1143 of the Bankruptcy Code, the
Bankruptcy Court may enter one or more Orders in aid of Confirmation directing the
implementation of matters or actions required by this Plan.

         11.2     Compliance with Tax Requirements

        In connection with this Plan, the Debtor, the Proponents and the Disbursing Agent,
shall comply with all withholding and reporting requirements imposed by federal, state and
local taxing authorities and distributions under this Plan shall be subject to such withholding
and reporting requirements; provided, however, that the transfer of any Cash, property or
other interest hereunder shall not be subject to any federal, state or local tax to the fullest
extent provided under Section 1146 of the Bankruptcy Code.

         11.3     Due Authorization by Creditors

       Each and every Creditor who accepts the distributions provided for under this Plan
warrants that it is the lawful owner of such Claim and is authorized to accept the distributions
provided for in this Plan and that there are no outstanding Liens, encumbrances,
commitments, agreements, or understandings, express or implied, that may or can in any way
defeat or modify the rights released, conveyed or modified by this Plan, or obligations
undertaken by such Creditor under this Plan.

         11.4     Amendments

       On notice to all creditors and parties in interest including the United States Trustee,
and upon the appropriate opportunity to object, this Plan may be altered, amended or
modified by the Proponents, in writing and signed by the Proponents, at any time before the
substantial consummation of this Plan, as provided in Sections 1101(a) and 1127 of the
Bankruptcy Code and Bankruptcy Rule 3019; provided however, that no material
modifications of this Plan will be made subsequent to Confirmation absent notice to all
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creditors and parties in interest including the United States Trustee, and upon the appropriate
opportunity to object thereto.

         11.5     Revocation

       The Proponents may revoke or withdraw this Plan at any time prior to entry of the
Confirmation Order; provided, however, that the Plan may not be withdrawn once the
Property has been sold pursuant to the Sale. If this Plan is revoked or withdrawn or if no
Confirmation Order is entered, this Plan shall be null and void, and nothing contained in this
Plan shall (i) constitute a waiver or release of any Claims by or against, or any Interest in,
the Debtor; or (ii) prejudice in any manner the rights of the Proponents or any other party in
any further proceedings involving the Debtor or its Estate.

         11.6     Filing of Additional Documents

       Except as otherwise provided in this Plan, on or before the Effective Date, the
Proponents may file with the Court such agreements and other documents as may be
necessary or appropriate to effectuate and further evidence the terms and conditions of this
Plan. Prior to the Effective Date, the Debtor shall file monthly operating reports in the form laid
out at https://www.justice.gov/ust/chapter-11-operating-reports. After the Effective Date, the
Disbursing Agent and/or the Proponents after the Effective Date shall be responsible for filing
quarterly post-confirmation status reports with the Bankruptcy Court by not later than the 20th
day after the conclusion of each calendar quarter, in compliance with the following
regulation: Procedures for Completing Uniform Periodic Reports in Non-Small Business Cases
Filed Under Chapter 11 of Title 11, 85 FR 82905 (2020). After the Effective Date, the
Disbursing Agent shall pay all quarterly fees required under 28 U.S.C. § 1930 and applicable
interest under 31 U.S.C. § 3717, until the earlier of (a) conversion or dismissal of this Chapter
11 Case or (b) entry of a final decree closing this Chapter 11 Case.

         11.7     Section Headings

       The section headings contained in this Plan are for reference purposes only and shall
not affect in any way the meaning or interpretation of this Plan.

         11.8     Computation of Time

     In computing any period of time prescribed or allowed by this Plan, the provisions of
Bankruptcy Rule 9006(a) shall apply.

         11.9     Successors and Assigns

       The rights, benefits and obligations of any entity named or referred to in this Plan shall
be binding on, and shall inure to the benefit of, any heir, executor, administrator, successor
or assign of such entity.

         11.10 Notices

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       All notices and other communications to be given or made hereunder shall be in
writing and shall be deemed to have been given or made when mailed or as otherwise set
forth herein:

             (a)     if to the Debtor, 203-205 North 8th Street Loft, LLC, 4403 15th Avenue,
Brooklyn, NY 11219, with a copy to Bruce Weiner, Esq., Rosenberg Musso & Weiner, LLP,
26 Court Street, Suite 2211, Brooklyn, NY 11242;

             (b)    if to the Secured Creditors, 203-205 N 8th Street LLC & North 8th
Investor LLC, 520 Madison Avenue, Suite 3501, New York, New York 10022, Attn:
Shoshana Carmel, with a copy to Kriss & Feuerstein LLP, 360 Lexington Avenue, Suite
1200, New York, New York 10017, Attn: Jerold C. Feuerstein, Esq., Daniel N. Zinman,
Esq. and Stuart Kossar, Esq.;

               (c)     if to any Creditor or Interest holder, at: (i) the addresses set forth on
the respective Proofs of Claim or Proofs of Interests Filed by such holders; (ii) the addresses
set forth in any written notices of address changes delivered to the Disbursing Agent after
the date of any related Proof of Claim; or (iii) the address reflected in the Schedules if no
Proof of Claim is filed and the Disbursing Agent has not received a written notice of a change
of address; and

               (d)    if to any Entity that has filed a notice of appearance, at the addresses
set forth on such notice of appearance.

         11.11 Governing Law

        Except to the extent that the Bankruptcy Code or Bankruptcy Rules or other Federal
law are applicable, the rights and obligations arising under this Plan shall be governed by,
and construed and enforced in accordance with the laws of the State of New York, without
giving effect to the principles of conflict of laws thereof.

         11.12 Other Actions

         Nothing contained herein shall prevent the Debtor, the Proponents, Interest Holders,
or Creditors from taking such actions as may be reasonably necessary to consummate this
Plan, although such actions may not specifically be provided for within this Plan. In
accordance with Rule 3022-1 of the Local Bankruptcy Rules for the Eastern District of New
York, within fourteen (14) days following the full administration of the Estate, the Proponents
will file, on notice to the United States Trustee, an application and proposed order for a final
decree pursuant to Bankruptcy Rule 3022, without prejudice to the Court’s ability to reduce or
extend the time to file such application.

         11.13 Severability

      In the event any provision of this Plan is determined to be unenforceable, such
determination shall in no way limit or affect the enforceability and operative effect of any or

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all other provisions of this Plan.

         11.14 Business Day

      In the event that this Plan requires an act to be performed on a day that is not a
Business Day, such act shall be performed on the first Business Day thereafter.

                                          ARTICLE 12

                              RETENTION OF JURISDICTION

         12.1     Retention of Jurisdiction

        Notwithstanding the entry of the Confirmation Order or the occurrence of the
Effective Date, until the Case is closed, the Bankruptcy Court shall retain and have original,
but not exclusive, jurisdiction to:

       (a) Insure that this Plan and the Sale of the Property are consummated, and to enter
any Order pursuant to Section 1142(b) of the Bankruptcy Code, to compel the Debtor and
any other necessary party, to take such action and execute such documents to effectuate this
Plan;

      (b) Consider any modification of this Plan proposed pursuant to Section 1127 of the
Bankruptcy Code and Bankruptcy Rule 3019;

        (c) Allow, disallow, determine, liquidate, classify or establish the priority, secured or
unsecured status of any Claim or Interest, including the resolution of any request for payment
of any Administrative Expense, the resolution of any and all objections to the allowance or
priority of Claims or Interests, and the resolution of any adversary proceeding;

       (d) Grant or deny any and all applications for allowance of compensation or
reimbursement of expenses authorized pursuant to the Bankruptcy Code or this Plan, for any
period ending on or before the Effective Date;

        (e) Resolve any motions pending on the Effective Date to assume, assume and assign
or reject any Executory Contract or Unexpired Lease to which the Debtor is a party or with
respect to which the Debtor may be liable and to hear, determine and if necessary, liquidate,
any and all Claims arising therefrom;

      (f) Ensure that distributions to holders of Allowed Claims and Allowed Interests are
accomplished pursuant to the provisions of this Plan;

       (g) Decide or otherwise resolve any and all applications, motions, adversary
proceedings, contested or litigated matters (including Causes of Action), and any other
matters or grant or deny any applications involving the Debtor that may be pending on the
Effective Date;

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       (h) Enter such Orders as may be necessary or appropriate to implement or
consummate the provisions of this Plan and all contracts, instruments, releases and other
agreements or documents created in connection with the Plan or Disclosure Statement or to
enforce all orders, judgments, injunctions (including, but not limited to any injunction with
respect to Guaranty Claims), and rulings entered in connection with the Case, including, but
not limited to any Order necessary to enforce the provisions of Article 7 of this Plan;

       (i) Resolve any and all controversies, suits or issues that may arise in connection with
the consummation, interpretation or enforcement of this Plan or any Entity’s obligations
incurred in connection with this Plan;

       (j) Modify this Plan before or after the Effective Date pursuant to Section 1127 of the
Bankruptcy Code, or to modify the Disclosure Statement or any contract, instrument, release
or other agreement or document created in connection with this Plan or Disclosure Statement
with the consent of the Debtor and any other interested party affected by such modification;

       (k) Remedy any defect or omission or reconcile any inconsistency in any Order, this
Plan, the Disclosure Statement or any contract, instrument, release or other agreement or
document created in connection with this Plan, to the extent authorized herein or in the
Bankruptcy Code;

       (l) Issue any injunctions, enter and implement other Orders or take such other actions
as may be necessary or appropriate to restrain interference by any Entity with consummation
or enforcement of this Plan;

      (m) Enter and implement such Orders as are necessary or appropriate if the
Confirmation Order is for any reason modified, stayed, reversed, revoked or vacated;

        (n) Determine any dispute arising under or related to this Plan, including, without
limitation, any dispute concerning the scope or effect of any release or discharge provided for
by this Plan or the Confirmation Order;

       (o) Determine any other matters that may arise in connection with or relate to this
Plan, the Disclosure Statement, the Confirmation Order, the Proponent or any contract,
instrument, release or other agreement or document created in connection with this Plan or
Disclosure Statement; and

         (p) Enter an Order or Final Decree concluding the Case.

         12.2     Post-Closing Jurisdiction

       Notwithstanding the entry of a final decree or an Order closing the Case, the
Bankruptcy Court shall retain jurisdiction to reopen the Case for the purpose of enforcing, by
injunction or otherwise, the terms of this Plan, the Confirmation Order and any final decree,
including, without limitation, the enforcement of any rights of the Debtor.


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                                         ARTICLE 13

                               CONFIRMATION REQUEST

         13.1     Confirmation Request

      The Proponents hereby requests Confirmation of the Plan pursuant to Section 1129 of the
Bankruptcy Code.




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Dated: New York, New York
       October 29, 2021



                                       KRISS & FEUERSTEIN LLP

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                                       3052 Brighton 1st Street II LLC


                                       3052 Brighton 1st Street LLC and 3052
                                       Brighton 1st Street II LLC

                                By:    /s/ Shoshana Carmel
                                       Shoshana Carmel, Director




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